                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MISSOURI
                             CENTRAL DIVISION

BCBSM, Inc., d/b/a
Blue Cross and Blue Shield
of Minnesota,

      Movant,                                Case No. 2:21-mc-09001-SRB
v.
                                             IN RE: J.P., et al. v. BCBSM, Inc.
Change Academy at Lake                       United States District Court
of the Ozarks, LLC,                          District of Minnesota
                                             Case No. 18-cv-3472 (MJD/DTS) (D. Minn.)
      Respondent.
                                             MOVANT'S NOTICE OF DISMISSAL


      Movant BCBSM, Inc. pursuant to Rule 41(a)(1)(i) of the Federal Rules of Civil

Procedure, files this Notice of Dismissal without prejudice. In support Movant states:

      1.     On July 8, 2021, Movant filed the present action against Change Academy

at Lake of the Ozarks, LLC (“Respondent”).

      2.     Respondent is a non-party to a lawsuit filed in the United States District

Court for the District of Minnesota, who failed to produce certain specified documents

in accordance with Federal Rule of Civil Procedure 45.

      3.     Respondent has not filed an answer or a motion for summary judgment.

      WHEREFORE, Movant dismisses this matter without prejudice.




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                                            Respectfully submitted,

                                            STINSON LLP
                                            /s/ Charles W. Hatfield
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                                            Jefferson City, Missouri 65101
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                                            chuck.hatfield@stinson.com

                                            ATTORNEY FOR MOVANT BCBSM, INC.

                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on September 30, 2021, the above foregoing was

filed with the Clerk of the Court using the CM/ECF filing system, which will send electronic

notifications to all counsel of record.

                                                               /s/ Charles W. Hatfield
                                                               Attorney for Movant




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